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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ZACHARY GREENBERG                      :
                                       :      CIVIL ACTION
                    Plaintiff          :
                                       :      No. 2:20-CV-3822
              v.                       :
                                       :
JOHN P. GOODRICH, in his               :
official capacity as Chair of the      :      Hon. Chad F. Kenney
Disciplinary Board of the Supreme      :
Court of Pennsylvania, et al.          :
                                       :
                    Defendants         :

                                       Order

       AND NOW, this             day of                    202__, upon

 consideration of Defendants John P. Goodrich, Jerry M. Lehocky, Celeste L. Dee,

 Christopher M. Miller, Gretchen A. Mundorff, John C. Rafferty, Dion G. Rassias,

 Robert L. Repard, Eugene F. Scanlon, Jr., David S. Senoff, Robert J. Mongeluzzi,

 Shohin H. Vance, Thomas J. Farrell, and Raymond S. Wierciszewski’s Motion for

 Summary Judgment, and Plaintiff’s response, it is hereby ORDERED that the

 Motion is GRANTED.

       JUDGMENT IS ENTERED IN FAVOR of Defendants and against Plaintiff

 on all counts.

                                              BY THE COURT:




                                                                            J.
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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ZACHARY GREENBERG                        :
                                         :      CIVIL ACTION
                     Plaintiff           :
                                         :      No. 2:20-CV-3822
              v.                         :
                                         :
JOHN P. GOODRICH, in his                 :
official capacity as Chair of the        :      Hon. Chad F. Kenney
Disciplinary Board of the Supreme        :
Court of Pennsylvania, et al.            :
                                         :
                     Defendants          :


                   Defendants’ Motion for Summary Judgment

       Defendants John P. Goodrich, Jerry M. Lehocky, Celeste L. Dee, Christopher

 M. Miller, Gretchen A. Mundorff, John C. Rafferty, Dion G. Rassias, Robert L.

 Repard, Eugene F. Scanlon, Jr., David S. Senoff, Robert J. Mongeluzzi, Shohin H.

 Vance, Thomas J. Farrell, and Raymond S. Wierciszewski move for summary

 judgment pursuant to Fed.R.Civ.P. 56 on the grounds set forth in their

 accompanying Brief.

       1.     The parties filed a Stipulated List of Facts for Purposes of Summary

 Judgment Motions (ECF Doc. 53), along with Declarations from Plaintiff Zachary

 Greenberg, Esquire, (ECF Doc. 54), Thomas J. Farrell, Esquire, (ECF Doc. 56), and

 Laura K. Mohney, Esquire, (ECF 55).

       2.     The parties also exchanged written discovery, which Defendants are

 filing with the Court as their Brief will rely on the discovery in addition to the

 Stipulated Facts and Declarations.
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      WHEREFORE, Defendants respectfully request that this Honorable Court

grant judgment in their favor and against Plaintiff on all claims.



                                       Respectfully submitted,


                                       s/Michael Daley
                                       Michael Daley, Esquire
                                       Attorney I.D. No. PA 77212
                                       Megan L. Davis, Esquire
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                                       Attorneys for Defendants
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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ZACHARY GREENBERG                      :
                                       :      CIVIL ACTION
                    Plaintiff          :
                                       :      NO. 2:20-CV-3822
             v.                        :
                                       :
JOHN P. GOODRICH, in his               :
official capacity as Chair of the      :      Hon. Chad F. Kenney
Disciplinary Board of the Supreme      :
Court of Pennsylvania, et al.          :
                                       :
                    Defendants         :


                                Certificate of Service

       The undersigned certifies that on November 16, 2021, he caused the

 foregoing Motion for Summary Judgment via CM/ECF on all counsel of record




                                       /S/ Michael Daley
                                       MICHAEL DALEY, ESQUIRE
                                       Attorney I.D. No. PA 77212
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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ZACHARY GREENBERG                        :
                                         :       CIVIL ACTION
                       Plaintiff         :
                                         :       No. 2:20-CV-3822
                v.                       :
                                         :
JOHN P. GOODRICH, in his                 :
official capacity as Chair of the        :       Hon. Chad F. Kenney
Disciplinary Board of the Supreme        :
Court of Pennsylvania, et al.            :
                                         :
                       Defendants        :


          Brief in Support of Defendants’ Motion for Summary Judgment

 I.       Statement of the Case

          This case concerns whether Pennsylvania, through its Rules of Professional

 Conduct,1 may prevent attorneys from engaging in harassing and discriminatory

 conduct in the practice of law directed at other individuals. See Pa.R.P.C.

 8.4(g).2




 1   See 204 Pa. Code § 81.4.

 2 The current Rule 8.4(g) at issue in this case was promulgated by the Supreme
 Court of Pennsylvania on July 26, 2021. See 51 Pa.B. 5190 (Aug. 21, 2021);
 http://www.pacodeandbulletin.gov/Display/pacode?file=/secure/pacode/data/204/chap
 ter81/s8.4.html (last accessed Nov. 16, 2021). In that rulemaking, the Supreme
 Court amended the original form of Rule 8.4(g), which the Supreme Court had
 adopted on June 8, 2020. See 50 Pa.B. 3011 (June 20, 2020). As discussed more fully
 infra, it was the 2020 version of the rule, not the current Rule 8.4(g), that this
 Court on December 8, 2020, preliminarily enjoined the defendants from enforcing.
 See Greenberg v. Haggerty, 491 F.Supp.3d 12 (E.D. Pa. 2020).
                                             1
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       The kind of conduct prohibited by Rule 8.4(g) demeans all nature of

individuals who interact with the court system – e.g., attorneys, court and office

staff, witnesses, litigants and other observers – and distracts from civil discourse

and the resolution of disputes through the legal system. Harassment and

discrimination exclude able lawyers from their place in the practice of law and,

when directed at them, shuts down the law-based and relevant-evidence-based

debate that is essential to the functioning of our legal system.

       The Supreme Court’s effort to regulate the conduct of the attorneys it licenses

through Rule 8.4(g) serves the compelling interests of ensuring the efficient and

law-based resolution of disputes and guaranteeing that its judicial system is equally

accessible to all.

       This is not a case about offensive language. Or about whether some people

may find a CLE presentation “offensive.” This case is not about what attorneys may

do outside the practice of law. It is not about advocating that certain laws or cases

are unconstitutional or wrongly decided, no matter how controversial that advocacy

may be. Rather, this case is about whether Pennsylvania may enact regulations to

curb the serious issue of targeted discrimination and harassment against others in

the legal profession.

       As the American Bar Association recognizes:

       Discriminatory and harassing conduct, when engaged in by lawyers in
       connection with the practice of law, engenders skepticism and distrust
       of those charged with ensuring justice and fairness. Enforcement of
       Rule 8.4(g) is therefore critical to maintaining the public’s confidence
       in the impartiality of the legal system and its trust in the legal
       profession as a whole.

                                           2
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ABA Formal Opinion 492 (July 20, 2020).3

      Pennsylvania’s efforts to ensure that the judicial system and practice
      of law is free from discrimination and harassment.

      The Supreme Court of Pennsylvania has long recognized the vital importance

in a judicial system free from bias and invidious discrimination, as well as equal

access for all those having business with the court system. For instance, in 1999 it

appointed a Committee on Racial and Gender Bias in the Justice System to

determine whether racial or gender bias played a role in the justice system.4 This

led to the Interbranch Commission on Gender, Racial and Ethnic Fairness, which

seeks to reduce or eliminate bias and discrimination in the legal profession and all

branches of government. In 2008, the Supreme Court adopted a Policy of Non-




3 Many courts have spoken to the corrosive and negative effect that discrimination
and harassment cause to the legal system, including Principe v. Assay Partners, 586
N.Y.S.2d 182, 185 (N.Y. Sup. Ct. 1992)(“[D]iscriminatory conduct on the part of an
attorney is inherently and palpably adverse to the goals of justice and the legal
profession . . ..”); Cruz-Aponte v. Caribbean Petroleum Corp., 123 F.Supp.3d 276,
280 (D.P.R. 2015)(“When an attorney engages in discriminatory behavior, it reflects
not only on the attorney’s lack of professionalism, but also tarnishes the image of
the entire legal profession and disgraces our system of justice.”); In re Thomsen, 837
N.E.2d 1011, 1012 (Ind. 2005)(“Interjecting race into proceedings where it is not
relevant is offensive, unprofessional and tarnishes the image of the profession as a
whole.”); In re Charges of Unprofessional Conduct, 597 N.W.2d 563, 568 (Minn.
1999)(maintaining that “it is especially troubling” when a lawyer engages in “race-
based misconduct” and, if not addressed, “undermines confidence in our system of
justice”).

4See http://www.pa-interbranchcommission.com/index.php (last accessed Nov. 4,
2021).


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Discrimination and Equal Opportunity Employment Opportunity that covers all

individuals having business with the judiciary.5

      In 2016, the American Bar Association (“ABA”) amended its Model Rules of

Professional Conduct to add a new paragraph (g) and two new comments to Rule 8.4

addressing discrimination and harassment.6 That same year, the Disciplinary

Board of the Supreme Court of Pennsylvania (“Board”) proposed initial

amendments to Pennsylvania’s Rule 8.4, which varied from the ABA’s Model Rule.

See 46 Pa.B. 7519 (Dec. 3, 2016). Based on comments, two more versions were

proposed. See 48 Pa.B. 2936 (May 19, 2018); 49 Pa.B. 4941 (Aug. 31, 2019).7

      During the amendment process, the Board and Supreme Court had input

from the Pennsylvania Bar Association, the Philadelphia Bar Association, and the




5 See https://www.pacourts.us/Storage/media/pdfs/20210515/213216-file-214.pdf
(last accessed Nov. 4, 2021).

6The ABA Rule is at
https://www.americanbar.org/groups/professional_responsibility/publications/model
_rules_of_professional_conduct/rule_8_4_misconduct/ (retrieved Nov. 1, 2021). See
also ABA Formal Opinion 492 (July 20, 2020). The ABA Rule has generated
numerous law review articles, including Robert N. Weiner, ”Nothing to See Here”:
Model Rule of Professional Conduct 8.4(g) and the First Amendment, 41 Harv. J.L.
& Pub. Pol’y 125 (2018); Stephen Gillers, A Rule to Forbid Bias and Harassment in
Law Practice: A Guide for State Courts Considering Model Rule 8.4(g), 30 Geo. J.
Legal Ethics 195 (2017).

7Since the ABA adopted Model Rule 8.4(g), various states, including Colorado,
Connecticut (effective in 2022), Maine, Missouri, New Mexico, and Vermont, have
adopted some form of the Model Rule, either with or without modifications. As of
August 2019, at least 39 of 56 jurisdictions have anti-discrimination and anti-
harassment provisions in their rules of professional conduct. See 49 Pa.B. 4941 n.1
(Aug. 31, 2019).


                                         4
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Allegheny County Bar Association, as well as additional comments. (Mohney

Declaration, Exh. A-C, ECF Doc. 55.) The Board not only reviewed the ABA Model

Rule and related materials, but also had the benefit of the ABA’s Standing

Committee on Ethics and Professional Responsibility’s Report, bar association

input, and knowledge of how other states were proceeding. Id.

      In its August 2019 publication, the Board confirmed that the proposed

amendments’ purpose is to “promote[] the profession’s goal of eliminating

intentional harassment and discrimination, assure[] that the legal profession

functions for all participants, and affirm[] that no lawyer is immune from the reach

of law and ethics.” 49 Pa.B. 4941. In 2020, the Supreme Court of Pennsylvania

approved the Old Amendments, to take effect on December 8, 2020. See 50 Pa.B.

3011 (June 20, 2020).

      Following this Court’s December 8, 2021 Order (Doc. 30) enjoining the Old

Amendments, see Greenberg v. Haggerty, 491 F.Supp.3d 12 (E.D. Pa. 2020), the

Supreme Court revised Rule 8.4(g) by Order of July 25, 2021. See 51 Pa.B. 5190

(Aug. 21, 2021).8 The revised Rule states:

      It is professional misconduct for a lawyer to:

                                        * * *

      (g) in the practice of law, knowingly engage in conduct constituting
      harassment or discrimination based upon race, sex, gender identity or
      expression, religion, national origin, ethnicity, disability, age, sexual
      orientation, marital status, or socioeconomic status. This paragraph


8The Amendments that the Court enjoined are referred to as the “Old Rule” or “Old
Amendments.” The current Amendments at issue are referred to as the
“Amendments.”
                                             5
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      does not limit the ability of a lawyer to accept, decline or withdraw
      from a representation in accordance with Rule 1.16. This paragraph
      does not preclude advice or advocacy consistent with these Rules.

Pa.R.P.C. 8.4. Comments Three through Five pertain to section (g):

      [3] For the purposes of paragraph (g), conduct in the practice of law
      includes (1) interacting with witnesses, coworkers, court personnel,
      lawyers, or others, while appearing in proceedings before a tribunal or
      in connection with the representation of a client; (2) operating or
      managing a law firm or law practice; or (3) participation in judicial
      boards, conferences, or committees; continuing legal education
      seminars; bench bar conferences; and bar association activities where
      legal education credits are offered. The term “the practice of law” does
      not include speeches, communications, debates, presentations, or
      publications given or published outside the contexts described in (1)-
      (3).

      [4] “Harassment” means conduct that is intended to intimidate,
      denigrate or show hostility or aversion toward a person on any of the
      bases listed in paragraph (g). “Harassment” includes sexual
      harassment, which includes but is not limited to sexual advances,
      requests for sexual favors, and other conduct of a sexual nature that is
      unwelcome.

      [5] “Discrimination” means conduct that a lawyer knows manifests an
      intention: to treat a person as inferior based on one or more of the
      characteristics listed in paragraph (g); to disregard relevant
      considerations of individual characteristics or merit because of one or
      more of the listed characteristics; or to cause or attempt to cause
      interference with the fair administration of justice based on one or
      more of the listed characteristics.

Pa.R.P.C. 8.4, cmts.9

      Notably, in addition to the three new Comments, the Amendments

made the following changes from the Old Rule:




9Defendants agreed to forebear enforcing revised Rule 8.4(g) pending this Court’s
disposition of cross-motions for summary judgment. (ECF Doc. 46.)
                                         6
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         ●      Removed from the Old Rule the phrases, “by words or conduct,”
                and “manifest bias or prejudice.”

         ●      Added to the New Rule the words, “conduct constituting.”

         ●      Removed from the Old Rule the clause, “as those terms are
                defined in applicable federal, state or local statutes or
                ordinances, including but not limited to bias, prejudice,
                harassment or discrimination.”

See 51 Pa.B. 5190.

         Plaintiff.

         Plaintiff Zachary Greenberg is an attorney who is licensed to practice law in

New York as of 2017 and in Pennsylvania since 2019. (Greenberg Response to

Interrogatories No. 5, ECF Doc. 62, Ex. C.) As an attorney, his job is to make

presentations and write for the Foundation for Individual Rights in Education

(“FIRE”), a position he has had since graduating from law school in 2017.

(Stipulated List of Facts ¶¶ 6, 10, ECF Doc. 53; Greenberg Response to

Interrogatories No. 4-5, ECF Doc. 62, Ex. C.)10

         In the four CLE presentations he had given since 2017, Plaintiff has

sometimes quoted what he describes as “hateful speech” from court opinions.

(Stipulation ¶¶ 63-65, ECF Doc. 53.) One time, after he spoke at a CLE in 2018, one

attorney approached him and told him he found Plaintiff’s presentation “offensive.”

(Greenberg Response to Interrogatories No. 6, ECF, Doc. 62, Ex. C.) That attorney

never reported Greenberg to any bar disciplinary authority, so far as Greenberg




10   The Stipulated List of Facts will be referred to as “Stipulation.”
                                             7
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knows or the record shows. (Greenberg Response to Admissions No. 1-2, ECF Doc.

62, Ex. D.)

      While Plaintiff asserts that he intends to speak at future CLEs, the only

scheduled CLE was on October 27, 2021. (Greenberg Response to Interrogatories

No. 2, ECF Doc. 62, Ex. C.) No further CLEs are currently scheduled.

      Plaintiff has not been accused of intentionally targeting an individual for

harassment or discrimination. (Greenberg Response to Interrogatories No. 9, ECF

Doc. 62, Ex. C.) And Plaintiff has not and does not intend to engage in such conduct.

(Greenberg Response to Admissions No. 3-4, ECF Doc. 62, Ex. D.)

      The disciplinary process.

      When a complaint is submitted against an attorney, the Office of Disciplinary

Counsel (“ODC”) conducts an investigation. (Stipulation ¶ 28, ECF Doc. 53.) See

Pa.D.B.R. § 87.6.11 The complaint is not a charging document, but a request to

investigate an attorney. (Stipulation ¶ 28, ECF Doc. 53.) If ODC determines that a

complaint is frivolous or that policy or prosecutorial discretion warrant dismissal, it

may dismiss the complaint without issuing a DB-7 letter, which is a Request for

Statement of the attorney’s position. (Stipulation ¶ 29, ECF Doc. 53.) See Pa.R.D.E.

208(a)(2)12; Pa.D.B.R. § 87.8(a). For calendar years 2016 to 2018, ODC received




11The Disciplinary Board Rules (“Pa.D.B.R.”) are published at 204 Pa. Code §§ 85.1-
95.3. Chapter 87 contains the rules governing investigations and informal
proceedings.

12The Pennsylvania Rules of Disciplinary Enforcement (“Pa.R.D.E”) are published
at 204 Pa. Code Ch. 83.
                                           8
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11,822 complaints, which resulted in 1,527 DB-7 letters. (Stipulation ¶ 31, ECF

Doc. 53.) Thus, 87.1% of complaints did not result in a DB-7 letter that required a

formal response from the attorney. (Stipulation ¶ 31, ECF Doc. 53.)

      If ODC issues a DB-7 letter, the attorney has thirty days to respond.

(Stipulation ¶ 30, ECF Doc. 53.) See Pa.D.B.R. § 87.7(b), (c). At that point, ODC may

dismiss the complaint without any further action by the attorney. Pa.D.B.R. §

87.9(a), (b). If, after an investigation and serving a DB-7 letter, ODC determines

that some form of discipline is appropriate, ODC drafts a “Referral of Complaint to

Reviewing Hearing Committee Member,” which recommends either private

discipline, public reprimand, or the filing of a petition for discipline. (Stipulation ¶

36, ECF Doc. 53.)13

      Prior to the recommendation being approved, there are multiple layers of

review, including the Counsel in Charge of the District and ODC’s Chief

Disciplinary Counsel. (Stipulation ¶¶ 38-39, ECF Doc. 53.) Next, if both approve, a

single hearing committee member or a three-member panel also reviews the

proposed disposition. (Stipulation ¶ 39, ECF Doc. 53.) See Pa.R.D.E. 208(a)(3), (5);

Pa.D.B.R. § 87.34.

      If ODC does not file a petition for discipline for a complaint, the Board cannot

review or otherwise adjudicate the complaint. (Defendant’s Response to Request for

Admissions No. 7, ECF Doc. 62, Ex. B.)




13A DB-7 letter is a prerequisite to a recommendation of discipline. Pa.D.B.R. §
87.7(a).
                                            9
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      ODC’s interpretation of the current Amendments to Rule 8.4(g).

      ODC’s Chief Disciplinary Counsel, Thomas J. Farrell, Esquire, has provided

a Declaration on behalf of ODC regarding ODC’s position on and interpretation of

the Amendments. (ECF Doc. 56.) Chief Counsel Farrell has authority to direct how

ODC interprets the Rules of Professional Conduct and ODC’s polices on handling

complaints, including those raising First Amendment issues. (Farrell Declaration ¶

6, ECF Doc. 56.) As stated in the Declaration:

      ●      ODC interprets Rule 8.4(g) as encompassing only conduct that
             targets individuals by harassing or discriminating against an
             identifiable person. The ODC does not interpret Rule 8.4(g) as
             prohibiting general discussions of case law or “controversial”
             positions or ideas (Farrell Declaration ¶ 7, ECF Doc. 56).

      ●      Plaintiff’s presentations, speeches, writings, and similar actions
             described in the Amended Complaint do not violate Rule 8.4(g),
             and ODC would not pursue discipline for them (Farrell
             Declaration ¶ 8-9, ECF Doc. 56).

      ●      “Offensive” language or an allegation that someone was offended
             by a speech or writing that does not target individuals by
             harassing or discriminating against an identifiable person, does
             not come within Rule 8.4(g), and ODC would not seek discipline
             for it (Farrell Declaration ¶ 16, ECF Doc. 56).

      ●      ODC would not pursue discipline for discussing and quoting
             from cases with “offensive” or “controversial” language; speaking
             and writing about “hot-button legal issues” such as hate speech,
             an individual’s due process rights related to sexual assault and
             misconduct allegations, campaign finance speech restrictions;
             discussing or advocating a position on hate speech regulations,
             student due process rights, monetary contributions in politics,
             and the right to express intolerant religious views (Farrell
             Declaration ¶¶ 10-13, ECF Doc. 56).

      “Targeting individuals” includes conduct that “results in invidiously

disparate treatment and abusive or predatory behavior.” (Defendants’ Answers to

                                         10
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Interrogatories No. 7, ECF Doc. 62, Ex. A.) Targeting is not based on the listener’s

perception, but whether the conduct “actually targets a person for discrimination or

harassment.” (Defendants’ Answers to Interrogatories No. 7, ECF Doc. 62, Ex. A.)

      In deciding whether a complaint under Rule 8.4(g) is frivolous, the complaint

is reviewed with “reasonable and measured deliberation,” including First

Amendment concerns and whether the alleged conduct rises to targeting an

individual for discrimination or harassment. (Defendants’ Answers to

Interrogatories No. 15, ECF Doc. 62, Ex. A.)

      The Declaration is binding on ODC and estops it from taking a different

position. (Defendants’ Answers to Interrogatories No. 12, ECF Doc. 62, Ex. A;

Response to Request for Admissions No. 5, ECF Doc. 62, Ex. B.)

      Claims and requested relief.

      Plaintiff claims that the Amendments are facially unconstitutional because

they are overbroad and a content- and viewpoint-based infringement of the First

Amendment. (Amended Complaint, Count I.) He also asserts that the Amendments

are vague, which would violate Fourteenth Amendment due process. (Amended

Complaint, Count II.) Plaintiff seeks a declaratory judgment and an injunction to

prevent Defendants from enforcing Rule 8.4(g).14




14 Defendants are sued in their official capacities only. An official capacity suit
against a public official is really against the government entity of which the person
is a part. Hafer v. Melo, 502 U.S. 21, 26 (1991). In this case, that is ODC and the
Board.
                                          11
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      This Court’s enjoining Old Rule 8.4(g).

      In enjoining Old Rule 8.4(g), this Court held that it consisted of viewpoint

discrimination. First, the Court focused on the Old Rule’s description of professional

misconduct through “words . . . manifest[ing] bias or prejudice” (words missing in

the new Amendments), which the Court held “simply regulates speech.” Greenberg

v. Haggerty, 491 F.Supp.3d 12, 29 (E.D. Pa. 2020). Thus, the Court concluded that

the Old Rule was not directed only to “conduct” or “professional speech,” but simply

to speech. Id. at 30.

      Next, the Court held that the Old Rule engaged in viewpoint discrimination

because it “explicitly prohibits words manifesting bias or prejudice, i.e., ‘offensive

words.’” Id. at 31. The Court concluded that the Old Rule, on its face, allowed “what

is bias and prejudice based on whether the viewpoint expressed is socially and

politically acceptable and within the bounds of permissible cultural parlance.” Id. at

32.

II.   Statement of Questions

      1.     Does Plaintiff lack standing to bring a pre-enforcement facial challenge

when his claimed injury is supported only by his subjective belief based on a guess

that unknown third parties will be offended, which may cause them to file a

complaint, and that ODC may move to enforce Rule 8.4(g), despite ODC’s position

that his conduct would not violate the Amendments and there is no credible threat

of prosecution?

             Answer: Yes.



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       2.    Do Plaintiff’s viewpoint-based and content-based claims fail because

the Amendments regulate conduct, not speech, and are not directed at particular

views or ideas, and, further, the Amendments are narrowly tailored to serve the

“compelling interest” in regulating attorneys’ professional conduct?

             Answer: Yes.

       3.    Has Plaintiff met his heavy burden in establishing that the

Amendments are impermissibly overbroad where they regulate professional conduct

involving discrimination and harassment, do not prohibit a substantial amount of

protected expression, and there are no historic or likely impermissible applications?

             Answer: No.

       4.    Do the Amendments, which are composed of well-known terms and

phrases, provide fair warning to an objective attorney about what conduct is

encompassed and in what circumstance, thereby rendering Plaintiff’s vagueness

claim meritless?

             Answer: Yes.

III.   Argument

       A.    Plaintiff lacks standing because he does not have a certainly
             impending, imminent injury: his subjective belief of injury is
             based upon speculation that unknown third parties may be
             offended and file a disciplinary complaint, and that ODC may
             seek to enforce Rule 8.4(g) despite such conduct not coming
             within the scope of the Amendments.

       For Plaintiff to obtain the declaratory relief he seeks, he must carry the

burden in establishing that he presents an “actual case or controversy” necessary to




                                          13
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invoke this Court’s jurisdiction. Reilly v. Ceridian Corp., 664 F.3d 38, 41 (3d Cir.

2011), cert. denied, 566 U.S. 989 (2012). Hence, standing is not assumed.

      Constitutional standing has three elements: 1) an injury in fact; 2) a causal

connection between the injury and the conduct complained of; and 3) the likelihood

that a favorable decision will redress the injury. Lujan v. Defenders of Wildlife, 504

U.S. 555, 560-61 (1992). To established injury in fact, Plaintiff must show an

invasion of a protected interest that is: 1) “concrete and particularized”; and 2)

“actual or imminent, not conjectural or hypothetical.” Id. The United States

Supreme Court requires that an injury must be “certainly impending.” Clapper v.

Amnesty Int’l USA, 568 U.S. 398, 414 (2013)(emphasis added).15

      In the context of a pre-enforcement challenge to a statute or rule, a plaintiff

must demonstrate a “realistic danger of sustaining a direct injury” if the challenged

provision is enforced. Pipito v. Lower Bucks Co. Joint Mun. Auth., 822 Fed.Appx.

161, 164 (3d Cir. 2020). Thus, Plaintiff has to show: 1) an intent to engage in

conduct arguably affected with a constitutional interest that a statute proscribes;

and 2) that there exists a “credible threat of prosecution[.]” Id. (quoting Susan B.

Anthony List v. Driehaus, 573 U.S. 149, 159 (2014)). Plaintiff meets neither.

      Here, because Plaintiff’s claimed injury is based on an allegation that the

Amendments chill his speech, he must present a “specific present objective harm or

a threat of specific future harm.” Id. Allegations of subjective chill and those based



15 Despite the relaxed approach to standing for his overbreadth challenge, Plaintiff
still must establish constitutional standing. SEIU v. Municipality of Mt. Lebanon,
446 F.3d 419, 424 (3d Cir. 2006).
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on a “speculative series of conditions” do not suffice. Id. (citations omitted); see also

Laird v. Tatum, 408 U.S. 1, 13-14 (1972).

      Notably, none of the conduct that Plaintiff has engaged in or plans to engage

in comes within Rule 8.4(g). Not only does it not come within the Amendments on

its face, but ODC has declared that such conduct does not violate the Amendments.

See Republican Party of Minn. v. Klobuchar, 381 F.3d 785, 793-93 (8th Cir.

2004)(affirming dismissal of First Amendment challenge for lack of standing

because the conduct was not proscribed by the challenged statute).

             1.     Plaintiff’s claim is based on pure speculation.

      The initial obstruction to standing is that Plaintiff’s claimed risk is based on

a series of guesses regarding the unknowable actions of unknown parties. But,

when an injury depends on an “indefinite risk of future harms inflicted by unknown

third parties,” standing is lacking. Reilly, 664 F.3d at 42; see Clapper, 568 U.S. at

414 (stating that there is a “usual reluctance to endorse standing theories that rest

on speculation about the decisions of independent actors”). Because Plaintiff’s

theory of harm depends entirely on third party actions, he must sufficiently

demonstrate that such third persons “will take the action exposing the plaintiff to

harm.” Lujan, 504 U.S. 564 n.2. Without such a demonstration, there is an

unacceptable risk of deciding a case in which “no injury would have occurred at

all.” Reilly, 664 F.3d at 42 (internal quotation omitted).

      Here, Plaintiff’s purported injury is founded solely on abstract predictions

about unknown third parties who may attend his presentations where he discusses



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First Amendment cases, who then might file a complaint, which possibly could

result in ODC action – action that the ODC has confirmed it will not take based on

Plaintiff’s conduct. That is not enough.

      Plaintiff’s first guess is that he “believes” that at least some audience

members will perceive his presentations where he discusses case law and advocates

for certain positions as hateful and hostile towards certain groups. (Plaintiff’s

Declaration ¶¶ 28-29, ECF Doc. 54.)16 But no evidence supports this belief.

      Plaintiff asserts that one attendee at one of his CLEs three and a half years

ago told him that his presentation was “offensive.” (Plaintiff’s Response to

Interrogatories No. 6, ECF Doc. 62, Ex. C). This isolated incident is not enough,

though. The attendees did not say that they felt targeted for harassment or

discrimination, which is what the Amendments cover (not “offensive” speech). There

is no evidence that the attendees ever filed a disciplinary complaint against

Plaintiff based upon this CLE presentation – or any other.

      Instead of specific instances where Plaintiff’s CLE presentations led to

disciplinary complaints or claims of discrimination or harassment, Plaintiff gathers

up reports about “public accusations of bias and prejudice” to support his subjective

fears. (Plaintiff’s Declaration ¶¶ 44-87, ECF Doc. 54.) And how many of those

involve disciplinary actions against attorneys or even rules of professional conduct?

None. Instead, Plaintiff attempts to shift the focus from the lack of such incidents to



 Plaintiff’s presentations outside of CLEs are not covered by the Amendments. See
16

Rule 8.4(g), comment [3].


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examples involving college professors, website articles, commentaries about judicial

opinions, and even what someone tweeted on Twitter.17 Thus, these “public

accusations” have no relevance.

      At this point, Plaintiff has attempted to build the required concrete, actual or

imminent grievance upon two indefinite assumptions based on nothing more than

his subjective beliefs. But the guesswork is not done: if a person were offended, and

if that person files a disciplinary complaint, there is yet another speculative step –

that ODC will not dismiss the complaint as frivolous and will require Plaintiff to

provide a formal response and thereafter move to bring charges.

      This step is equally imaginary: ODC does not consider “offensive” speech or

someone being “offended” to come within the Amendments. Nor do the Amendments

encompass presentations that cite cases or advocate for “controversial” positions.

Thus, no basis exists to claim a “realistic danger of sustaining a direct injury.”18

Indeed, the conduct that Plaintiff engaged in does not come within the

Amendments, and ODC would dismiss complaints about them as frivolous.

      At bottom, Plaintiff cannot fashion standing merely by “inflicting harm” on

himself based on fears of “hypothetical future harm that is certainly not



17The only attorney disciplinary case that Plaintiff cites is In re Traywick, 860
S.E.2d 358 (S.C. 2021). Yet, not only did that case not involve a rule similar to Rule
8.4(g), but the conduct at issue there does not come within the Amendments, and
ODC would not pursue discipline for it. (Farrell Declaration ¶ 17, ECF Doc. 56.)

18Of the complaints filed with ODC, 87.1% do not require a formal response from
the attorney. (Stipulation ¶ 31, ECF Doc. 53.) And even for those complaints for
which a formal response is required, ODC dismisses a majority without
recommending discipline.
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impending.” Clapper, 568 U.S. at 416. At its core, Plaintiff’s case is built on “ifs” –

“ifs” that depend solely on the unknowable actions of third parties. That cannot

satisfy standing. Reilly, 664 F.3d at 43 (holding that an injury is too speculative

when it cannot be described “without beginning our explanation with the word ‘if’”).

             2. There is no credible threat of prosecution.

      Next, even if Plaintiff’s claims did not rest on conjecture, Plaintiff still cannot

establish a credible threat of prosecution. First, ODC has not provided any reason to

believe that Plaintiff would be charged with violating the Amendments based on the

conduct he wants to engage in. To the contrary, ODC has disavowed any intention

to do so: Plaintiff’s conduct does not fall within the Amendments.

      Thus, a complaint against Plaintiff based on his CLE presentations and

advocacy would be frivolous. See Jamal v. Kane, 96 F.Supp.3d 447, 454 (M.D. Pa.

2015)(holding that no credible threat existed in a First Amendment case where

district attorney disavowed intent to enforce statute); see also Lopez v. Candaele,

630 F.3d 775, 788 (9th Cir. 2010)(“[W]e have held that plaintiffs did not

demonstrate the necessary injury in fact where the enforcing authority expressly

interpreted the challenged law as not applying to the plaintiffs’ activities.”), cert.

denied, 563 U.S. 989 (2011).

      Plaintiff may argue that a subsequent ODC chief could repudiate ODC’s

position set out in Chief Counsel Farrell’s Declaration. Setting aside that the

Declaration is binding on ODC and estops it from arguing otherwise should an

attorney rely on it, it is “not necessary” for Defendants to “refute and eliminate all



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possible risk that the statute might be enforced.” Winsness v. Yocom, 433 F.3d 727,

733 (10th Cir. 2006). Instead, it is Plaintiff’s burden to demonstrate an “actual or

imminent, not conjectural or hypothetical” threat that the Amendments will be

enforced against him. Id.

      Here, though, the only evidence points to one conclusion: ODC, which is the

only entity that can investigate and seek disciplinary action, has disavowed

enforcement of the Amendments for Plaintiff’s conduct.

      Second, there is no history of past enforcement: the Amendments have yet to

go into effect. Moreover, Plaintiff does not identify any attorney anywhere – let

alone in Pennsylvania – who was charged with violating a provision similar to the

Amendments based on engaging in activities akin to Plaintiff’s presentations. See

Abbott v. Pastides, 900 F.3d 160, 176-77 (4th Cir. 2018)(holding that no credible

threat existed where plaintiffs pointed to no evidence of prior sanctions under a

statute against them or anyone else), cert. denied, 139 S.Ct. 1292 (2019); Fieger v.

Michigan Supreme Court, 553 F.3d 955, 968 (6th Cir. 2009)(noting that plaintiffs

failed to identify any other attorneys who had been disciplined for criticizing judges

under the conduct rules at issue). The In re Traywick case Plaintiff cites did not

involve a similar rule, but instead whether the attorney’s conduct “tended to bring

the legal profession into disrepute[.]” 860 S.E.2d at 360.

      Third, even if ODC were to receive a complaint, there is no reason to believe

that Plaintiff would even have to respond to it, much less be charged by ODC.




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Instead, as noted above, ODC considers complaints about offensive language or

other aspects of Plaintiff’s presentations to not come within the Amendments.

      Plaintiff may argue that a credible threat is present because anyone can file a

complaint with ODC. See Susan B. Anthony List, 573 U.S. at 174. The problem with

this argument, however, is that complainants do not institute disciplinary charges

against an attorney: only ODC has that power – and only after approval by a

Disciplinary Board hearing committee member. (Stipulation ¶¶ 28, 38-39, ECF Doc.

53.) See Pa.R.D.E. 208(a)(3); Pa.D.B.R. § 87.32.

      A “complaint” is simply a claim that an attorney committed misconduct – one

that ODC reviews to determine if any further action is needed, as described above.

(Stipulation ¶ 28, ECF Doc. 53.) See Pa.D.B.R. § 87.2. That a citizen may make a

complaint, or even past history of investigating complaints, does not make a

credible threat. See Abbott, 900 F.3d at 177 (holding that a university’s past inquiry

into and ultimate dismissal of student complaints “does not by itself translate into a

credible threat that the University would sanction the plaintiffs for engaging in

protected speech in the future simply because others found it offensive”); Ness v.

City of Bloomington, C.A. No. 19-2882, 2020 WL 4227156, at *7 (D. Minn. July 23,

2020)(holding that an “investigation of citizen complaints” is not “a credible threat

of prosecution”); Empower Texans, Inc. v. Nodolf, 306 F.Supp.3d 961, 966 (W.D. Tex.

2018)(holding that “review of a private citizen’s complaint” is not a credible threat of

prosecution).




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       Finally, at an even more basic level, Plaintiff’s purported injury stems from

his intention to quote from cases with hateful language, as well as to advocate both

that certain cases were wrongly decided and for “controversial” legal positions.

That’s it.

       Plaintiff’s subjective belief, however, ignores both the Amendments’ plain

language as well as ODC’s position. It was the Old Rule’s language prohibiting

“words . . . manifest[ing] bias or prejudice” that the Court determined created a

credible threat that Plaintiff’s speeches and his quotation of opinions using “slurs,

epithets, and any demeaning nicknames” might result in a disciplinary

investigation and action. Greenberg, 491 F.Supp.3d at 22-24. ODC, the Board, and

the Supreme Court of Pennsylvania heeded this Court’s opinion. They eliminated

that language and its references to the Code of Judicial Conduct and retooled the

Rule to focus on harassing and discriminatory conduct that is knowingly targeted at

individuals. And they stipulated that Plaintiff’s speech, which the Court rightly

aimed to protect, is protected from prosecution.19

       Even more, to the extent that Plaintiff intends to advocate that certain cases

were wrongly decided or to advance a different interpretation of relevant law, Rule

8.4(g) provides a safe harbor: “This paragraph does not preclude advice or advocacy



19 That individual complainants might make frivolous allegations is of no moment
for standing purposes. ODC would be obligated to dismiss them, as would a
reviewing hearing committee member. The possibility of frivolous prosecutions,
where there is no history or evidence that the government intends to pursue them,
is not a credible, non-speculative threat sufficient to chill speech and confer
standing.


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consistent with these Rules.” And ODC’s position is that discussing and advocating

for “controversial” positions does “not violate Rule 8.4(g), and the ODC would not

pursue discipline on this basis.” (Farrell Declaration ¶ 13, ECF Doc. 56.)

      Given the Amendments’ clear safe harbor for advocacy, coupled with ODCs

averment that such conduct would not come within the Amendments, the threat of

enforcement is not credible – it’s incredible.20

      At bottom, Plaintiff has not carried his burden to establish standing. There is

no imminent, impending injury to Plaintiff. Rather, there is simply a worry without

foundation about what attendees may think and then possible do, and how ODC

ultimately might react. Yet Plaintiff’s fear of enforcement is not the issue, but what

evidence he marshals to support it. See American Library Ass’n v. Barr, 956 F.2d

1178, 1193 (D.C. Cir. 1992)(holding that the issue is how likely it is that the

government will attempt to use a provision against a plaintiff – not how worried

they are about potential enforcement).

      Where this Court would have to engage in speculation upon speculation upon

speculation before it could find any injury in fact here, there is no “realistic danger”

that Plaintiff will sustain a direct injury. Pipito, 822 Fed.Appx. at 164. Thus,

Plaintiff cannot meet his standing burden.



20Defendants dispute this Court’s earlier conclusion that the advocacy provision is
“plainly intended to protect those giving advice or advocacy in the context of
representing a client,” as opposed to Plaintiff’s conduct in advocating legal positions
at CLEs. Greenberg, 491 F.Supp.3d at 24. The Amendments contain no such
limitation. In fact, ODC’s position is that “discussing” and “advocating” a position
does not come within the Amendments, regardless of whether an attorney is
representing a client. (Farrell Declaration ¶¶ 13-14, ECF Doc. 56.)
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      B.     The Amendments regulate conduct, not speech, and they are
             neither viewpoint nor content based.

      In making a facial attack on the Amendments, Plaintiff is requesting “strong

medicine,” which is used “sparingly and only as a last resort.” Broadrick v.

Oklahoma, 413 U.S. 601, 613 (1973). The reason is that facial attacks “often rest on

speculation,” raise the “risk of premature interpretation,” and run “contrary to the

fundamental principle of judicial restraint[.]” Washington State Grange v.

Washington State Republican Party, 552 U.S. 442, 451 (2008)(citations omitted). For

these reasons, facial invalidation of a statute is a remedy that courts employ

“sparingly and only as a last resort.” In fact, facial challenges are “the most difficult

challenge to mount successfully, since the challenger must establish that no set of

circumstances exists under which the Act would be valid.” United States v. Salerno,

481 U.S. 739, 745 (1987).

      In deciding whether the Amendments are facially invalid, this Court “must

be careful not to go beyond the [Amendments’] facial requirements and speculate

about hypothetical or imaginary cases.” Id. at 449-50 (quotation omitted). Moreover,

because Pennsylvania’s disciplinary system has not yet applied the Amendments in

“actual disputes,” judicial restraint is called for. Id. at 450. Such restraint “frees the

[c]ourt not only from unnecessary pronouncement on constitutional issues,” but also

from prematurely interpreting statutes in areas where their “constitutional

application might be cloudy.” Id.

      Further, this Court “must . . . consider any limiting construction that a state

court or enforcement agency has proffered,” which Defendants have provided here

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through the ODC Declaration and discovery responses. Ward v. Rock Against

Racism, 491 U.S. 781, 796 (1989).

      Additionally, under the doctrine of constitutional avoidance, it has “long been

a tenet of First Amendment law” when determining a facial challenge to a statute

that if it is “readily susceptible to a narrowing construction that would make it

constitutional, it will be upheld.” Bruni v. City of Pittsburgh, 941 F.3d 73, 85 (3d

Cir. 2019), cert. denied, 141 S.Ct. 578 (2021). The “elementary rule is that every

reasonable construction” must be used to “save a statute from unconstitutionality.”

Stretton v. Disciplinary Bd. of Supreme Ct. of Pa., 944 F.2d 137, 144 (3d Cir. 1991).

      Before moving to the substance of Plaintiff’s claims, it is important to

recognize the long-standing, unbending line of cases upholding a state’s broad

powers to regulate attorneys. The Supreme Court holds that a state’s “broad power

to regulate the practice of professions within their boundaries” is “especially great”

in “regulating lawyers” because “lawyers are essential to the primary governmental

function of administering justice, and have historically been officers of the courts.”

In re Primus, 436 U.S. 412, 422 (1978)(quotation omitted); see also Middlesex v.

Garden State Bar Ass’n, 457 U.S. 423, 434 (1982)(affirming that the states have an

“extremely important interest in maintaining and assuring the professional conduct

of the attorneys it licenses”). Indeed, the state’s interest is a “compelling interest.”

Florida Bar v. Went For It, Inc., 515 U.S. 618, 625 (1995).

      This substantial, compelling interest includes “protect[ing] the integrity and

fairness of a State’s judicial system,” Gentile v. State Bar of Nevada, 501 U.S. 1030,



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1075 (1991), and “protect[ing] the flagging reputations of . . . lawyers by preventing

them from engaging in conduct” that is “regarded as deplorable and beneath common

decency[.]” Went For It, 515 U.S. at 625 (quotations omitted). Because bar

membership is a “privilege burdened with conditions,” and an attorney is “an officer

of the court,” attorneys must “conduct themselves in a manner compatible with the

role of courts in the administration of justice.” In re Snyder, 472 U.S. 634, 644-45

(1985).

      The preamble to Pennsylvania’s Rules reiterates this: “A lawyer, as a

member of the legal profession, is a representative of clients, an officer of the legal

system and a public citizen having a special responsibility for the quality of justice.”

Pa.R.P.C. Preamble and Scope [1].21

      1.       The Amendments regulate conduct and do not target speech or
               expression.

      Plaintiff’s challenge runs into two insurmountable obstacles. First, the

Supreme Court makes clear that antidiscrimination laws intended to ensure equal

access to society’s benefits serve goals “unrelated to the suppression of expression”

and are neutral as to both content and viewpoint. See Roberts v. U.S. Jaycees, 468

U.S. 609, 623-24 (1984)(holding that a state law prohibiting discrimination on the

basis of race, religion, disability, national origin, and gender “does not aim at the




21 While the Amendments here are directed towards conduct, many rules of
professional conduct that curtail attorney speech are consistently understood to be
proper regulatory measures. See Pa.R.P.C. 1.6, 3.5(d), 3.6, 4.1, 7.1. Indeed, some
rules regulate speech and conduct even outside the courtroom and unrelated to
client relationships. See Pa.R.P.C. 8.4(c).
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suppression of speech [and] does not distinguish between prohibited and permitted

activity on the basis of viewpoint”); see also Hurley v. Irish–Am. Gay, Lesbian &

Bisexual Grp. of Boston, 515 U.S. 557, 572 (1995)(public accommodations law

preventing discrimination on sexual orientation and other grounds did not, “on its

face, target speech or discriminate on the basis of its content”); Alpha Delta Chi-

Delta Chapter v. Reed, 648 F.3d 790, 801 (9th Cir. 2011)(holding that a college’s

nondiscrimination policy does not “target speech or discriminate on the basis of its

content,” but instead serves to remove access barriers imposed against groups that

have historically been excluded), cert. denied, 565 U.S. 1260 (2012).

      Pennsylvania’s interest in regulating attorneys and the practice of law is

compelling, and its power to do so is broad, as noted above. Here, the Amendments

are directed towards discrimination and harassment that have detrimental effects

on the judicial system, which is conduct that Pennsylvania has a compelling

interest in eradicating. See Roberts, 468 U.S. at 623; see also Matter of Abrams, 488

P.3d 1043, 1053 (Colo. 2021)(rejecting a First Amendment challenge to Colorado’s

Rule 8.4(g) and stating, “There is no question that a lawyer’s use of derogatory or

discriminatory language that singles out individuals involved in the legal process

damages the legal profession and erodes confidence in the justice system.”).

      The Amendments’ purpose is the compelling interest to “promote[] the

profession’s goal of eliminating intentional harassment and discrimination” and

assuring “that the legal profession functions for all participants[.]” 49 Pa.B. 4941.

This interest couples with Pennsylvania’s other compelling interests in “regulating



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lawyers” and “protect[ing] the integrity and fairness” of the judicial system. Gentile,

501 U.S. at 1075.

       Second, in a related argument, not only do the Amendments regulate conduct

only, but they also regulate professional conduct. Thus, that they may incidentally

burden speech is permissible. See National Inst. of Family & Life Advocates, 138

S.Ct. 2361, 2373 (2018)(collecting cases and reaffirming that the Court upholds

professional conduct regulations, including those regarding attorneys, that

incidentally burden speech: “the First Amendment does not prevent restrictions

directed at . . . conduct from imposing incidental burdens on speech,” and

“professionals are no exception to this rule.”).

       Citing to the Supreme Court’s decision, the Fourth Circuit correctly notes,

“Many laws that regulate the conduct of a profession or business,” like the

Amendments at issue, “place incidental burdens on speech, yet the Supreme

Court has treated them differently than restrictions on speech.” Capital Associated

Indus., Inc. v. Stein, 922 F.3d 198, 207-08 (4th Cir. 2019)(collecting cases where the

Supreme Court has considered “[b]ans on discrimination” and analyzed them as

conduct rules), cert. denied, 140 S.Ct. 666 (2019).

       Although the Supreme Court did not clearly articulate the standard to apply for

professional conduct regulations that incidentally burden speech, courts have used

intermediate scrutiny review. See id. at 209. In order to survive intermediate scrutiny,

the Amendments must serve a “significant, substantial, or important” government

interest. Drummond v. Robinson Twp., 9 F.4th 217, 230-31 (3d Cir. 2021). Second, the



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fit between the asserted interest and the challenged regulation must be “reasonable.”

Id. The fit between the Amendments and Defendants’ objectives need not be perfect,

and the Amendments need not be the least restrictive means of serving the interest.

United States v. Marzzarella, 614 F.3d 85, 98 (3d Cir. 2010), cert. denied, 562 U.S.

1158 (2011).

      For the first prong, the Amendments serve Pennsylvania’s compelling interests

in regulating the practice of law and eradicating discrimination and harassment as

noted above. Next, the Amendments’ prohibition on conduct in the practice of law that

targets individuals for harassment and discrimination is a reasonable fit with

Pennsylvania’s compelling interests. The Amendments are not based on speech,

offensive ideas, or whether someone is offended. Instead, the Amendments are

directed towards conduct and allow for ample room for speech.

               2.   The Amendments are not viewpoint-based.

      Because the Amendments regulate conduct, a viewpoint claim fails. Even if

the Amendments regulated speech and not conduct though, they are not viewpoint-

based. Viewpoint-based regulations target particular views taken by speakers on a

subject. Startzell v. City of Philadelphia, 533 F.3d 183, 193 (3d Cir. 2008). On its

face, the Amendments do not do that. Instead, they are directed to goals unrelated

to the suppression of expression: the adverse effect that discriminatory and

harassing conduct has on the practice of law. See Boy Scouts of Am. v. Wyman, 335

F.3d 80, 93 (2d Cir. 2003)(stating that Connecticut’s Gay Rights Law regulates




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membership and employment policies as conduct, not as expression and, “as such, is

not obviously viewpoint discriminatory”), cert. denied, 541 U.S. 903 (2004).

      The Amendments do not distinguish between which views one may take on a

particular subject. It does not carve out one idea for favor or disfavor. The

Amendments are unconcerned with, for instance, which cases one may quote from –

or even which opinion in a case. For instance, whether one cites from the majority

opinion in Bowers v. Hardwick, 478 U.S. 186 (1986)(“No connection between family,

marriage, or procreation on the one hand and homosexual activity on the other has

been demonstrated, either by the Court of Appeals or by respondent.”), then-Chief

Justice Burger’s concurrence (“To hold that the act of homosexual sodomy is

somehow protected as a fundamental right would be to cast aside millennia of moral

teaching.”), or the dissent (The “assertion that ‘traditional Judeo-Christian values

proscribe’ the conduct involved . . . cannot provide an adequate justification[.]”), is

irrelevant for Rule 8.4.

      Instead, the question is whether an attorney engaged in harassing or

discriminative conduct – not what viewpoint they take on a particular issue. The

Amendments also do not differentiate between which attorneys must comply with

the Amendments based on viewpoint: they apply equally to all attorneys, regardless

of their views. See Barr v. Lafon, 538 F.3d 554, 572 (6th Cir. 2008).

      Further, the Amendments are not grounded on whether words may offend

someone. In addition to the lack of language in Amendments directed toward

offensive language, ODC does not consider the Amendments to cover being offended



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or offensive language. (Farrell Declaration ¶ 16, ECF Doc. 56.) Thus, this Court’s

concern related to the Old Rule that it was intended to regulate offensive speech

based on “words manifesting bias or prejudice” is absent in the Amendments. See

Greenberg, 491 F.Supp.3d at 32.

      The Matal v. Shiaol case does not compel a different result. 137 S.Ct. 1744

(2017). First, Matal did not involve conduct, anti-discriminatory or antiharassment

regulations, or the government’s interest in addressing discrimination and

harassment’s immediate harms in professional conduct. Instead, the Court

addressed government protection of speech from commercial infringement. In

Matal, the government’s reasoning for denying trademark protection to allegedly

offensive terms relied on whether the speech “offended” the listener. Id. at 1766.

      Conversely, in the instant case, whether someone is offended is irrelevant.

Plus, unlike in Matal, the Amendments concern a compelling state interest in

eradicating discrimination and harassment and ensuring that the legal profession

functions for all participants. Even more fundamentally, the activity in Matal

involved pure speech. Here, on the other hand, the Amendments address attorney

conduct, not speech. See Wandering Dago, Inc. v. Destito, 879 F.3d 20, 32 (2d Cir.

2018)(recognizing that Matal does not affect the government’s ability to target

ethnic slurs through anti-discriminatory regulations).

      Further, no evidence exists that the Amendments were enacted to oppress

speech as opposed to harmful conduct, let alone to suppress a particular viewpoint.

See Boy Scouts of America, 335 F.3d at 93 (holding that Connecticut’s Gay Rights



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Law was not viewpoint discriminatory, even though it may have a viewpoint

disparity, where there was no reason to doubt that the law’s purpose was to

discourage harmful conduct); see also Make The Road by Walking, Inc. v. Turner,

378 F.3d 133, 151 (2d Cir. 2004)(holding that a plaintiff offered no evidence that a

policy was based on bias against its viewpoint rather than the conduct of

discrimination and harassment). Instead, the evidence establishes the opposite: the

Amendments were enacted to discourage harmful conduct, regardless of what view

one has. See Christian Legal Society Chapter of the Univ. of California, Hastings

College of the Law v. Martinez, 561 U.S. 661, 695 (2010)(“A regulation that serves

purposes unrelated to the content of expression is deemed neutral, even if it has an

incidental effect on some speakers or messages but not others.”).

      In sum, the Amendments place no restriction on a particular viewpoint. They

are directed towards conduct that has immediate, detrimental effects. The question

is whether an attorney’s conduct knowingly targeted an individual for harassment

or discrimination.

             3.      The Amendments are not content based: they do not
                     distinguish “favored” speech over “disfavored” speech.

      Content-based provisions distinguish favored speech over disfavored speech

based on the ideas expressed. Startzell, 533 F.3d at 193. As described above, the

Amendments do not do that: they regulate conduct, not speech. Further, the content

is irrelevant – what is relevant is whether an attorney knowingly targets an

individual for harassment or discrimination.




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      Because the Amendments are content-neutral, they must be narrowly

tailored, and must not “burden substantially more speech than is necessary” to

further Pennsylvania’s interests. Turco v. City of Englewood, New Jersey, 935 F.3d

155, 162 (3d Cir. 2019). Unlike a content-based speech restriction, however, the

Amendments need not be the “least restrictive or least intrusive means of’ serving

the government’s interests.” Id. To that point, narrowly tailored does not mean

“perfectly tailored.” Williams-Yulee v. Florida Bar, 575 U.S. 433, 454 (2015).

      Pennsylvania has a compelling interest in eradicating discrimination and

harassment, ensuring that the legal profession functions for all participants,

maintaining the public confidence in legal system’s impartiality, and its trust in the

legal profession as a whole. See id. (stating that “impossibility of perfect tailoring is

especially apparent when the State's compelling interest is as intangible as public

confidence in the integrity of the judiciary”).

      The Amendments are narrowly tailored because they cover only conduct that

takes place in the practice of law, and they allow attorneys to express their views on

hate speech, due process rights, and other “controversial” topics. Indeed, attorneys

may advocate for such positions in the practice of law, which includes at CLEs.22

      Furthermore, even if the Amendments were content based, they may be

justified if they are narrowly tailored to serve compelling state interests, which is

what Pennsylvania has done here. See Startzell, 533 F.3d at 193. The Amendments




22For instance, a CLE program may have attorneys from opposite sides of an issue
present and advocate for their position. That does not violate the Amendments.
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apply to activities that are required to practice law, which ensures that those who

are representing clients or taking mandated CLE credits are not harassed or

discriminated against. The Amendments do not apply to activities outside those

spheres, which allows attorneys ample opportunity to engage in conduct that would

otherwise be subject to the Amendments.

      When balancing an attorney’s First Amendment rights against a state’s

ability to discipline attorneys for unethical conduct, courts are to “engage[ ] in a

balancing process” that weighs the state’s “interest in the regulation of a specialized

profession against a lawyer’s First Amendment interest in the kind of speech that

was at issue.” Gentile, 501 U.S. at 1073.

      Thus, the Amendments serve the compelling state interests in eradicating

discrimination and harassment, coupled with regulating the practice of law. Under

either scrutiny standard, they pass constitutional muster.

      C.     The Amendments are not overbroad because any protected
             speech that they may incidentally encompass pales in
             comparison to the unprotected conduct to which they apply.

      The Amendments regulate conduct. The Supreme Court holds that “it has

never been deemed an abridgment of freedom of speech” to make a “course of

conduct illegal merely because the conduct was in part initiated, evidenced, or

carried out by means of language, either spoken, written, or printed.” Rumsfeld v.

Forum for Academic. & Institutional Rights, Inc., 547 U.S. 47, 62 (2006)(quotation

omitted). To the point: “Congress, for example, can prohibit employers from

discriminating in hiring on the basis of race. The fact that this will require an



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employer to take down a sign reading ‘White Applicants Only’ hardly means that

the law should be analyzed as one regulating the employer’s speech rather than

conduct.” Id.

      In deciding whether the Amendments are facially invalid, as noted above,

this Court must not speculate about “hypothetical or imaginary cases” and must

exercise “judicial restraint[.]” Washington State Grange, 552 U.S. at 449-50.

Further, the “elementary rule is that every reasonable construction” must be used

to “save a statute from unconstitutionality.” Stretton, 944 F.2d at 144.

      In order to establish that the Amendments are facially overbroad, Plaintiff

has a “heavy burden[.]” Free Speech Coalition, Inc. v. United States, 974 F.3d 408,

429 (3d Cir. 2020). Plaintiff has to demonstrate, from “the text of [the Amendments]

and from actual fact, that substantial overbreadth exists.” Virginia v. Hicks, 539

U.S. 113, 122 (2003)(quotation omitted). In examining an overbreadth claim, the

proper test is whether the provision “prohibits a substantial amount of protected

expression.” Ashcroft v. Free Speech Coalition, 535 U.S. 234, 244 (2002). Moreover,

because the Amendments would at the most only incidentally burden speech as set

forth above, such burdens are permissible. See National Inst. of Family & Life

Advocates, 138 S.Ct. at 2373; Capital Associated Indus., Inc., 922 F.3d at 207-08.

      It is well-established that the overbreadth doctrine is “strong medicine,”

which should be used “sparingly and only as a last resort.” Free Speech Coalition,

Inc., 974 F.3d at 429 (quoting Broadrick, 413 U.S. at 613). To determine whether

the Amendments prohibit a substantial amount of protected expression, the Court



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must look at four factors: 1) “the number of valid applications,” 2) “the historic or

likely frequency of conceivably impermissible applications,” 3) “the nature of the

activity or conduct sought to be regulated,” and 4) “the nature of the state interest

underlying the regulation.” Borden v. School Dist. of Twp. of East Brunswick, 523

F.3d 153, 165 (3d Cir. 2008).

             1.     Valid applications.

      The Amendments are directed to attorney conduct in the practice of law, and

they serve the Pennsylvania Judiciary’s compelling interest in preventing

discrimination and harassment and regulating the practice of law, as laid out above.

             2.     Historic or likely impermissible applications.

      Because the Amendments have not yet gone into effect, there is no historical

application. Nor is there any likely impermissible application. The Amendments are

limited to conduct “in the practice of law.” Pa.R.P.C. 8.4(g). Comment Three lists both

the activities that come within the “practice of law,” and those that do not.

      Perhaps in an attempt to carry his “heavy burden” that the Amendments

prohibit a “substantial amount of protected expression,” Plaintiff relies on incidents

on college campuses, website commentaries, and even what “social media users”

posted on Twitter. (Plaintiff’s Declaration ¶¶ 44-87, ECF Doc. 54.) Conspicuously,

not one example involves attorney discipline or rules of professional conduct – or

attorneys engaged in the “practice of law” as set forth in the Amendments.




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      Additionally, the Amendments do not prohibit “offensive” language. The term

is not in the Amendments, and ODC has affirmed that “offensive” speech and

speech on controversial topics does not come within the Amendments’ scope.

      At bottom, based on the Amendments’ plain language and ODC’s averments,

no likely impermissible applications exist.

             3.     Nature of activity and Pennsylvania’s interest.

      As detailed above, regulating the practice of law is an interest in which states

have an “especially great” and “extremely important” interest. As noted, hosts of

provisions that regulate an attorney’s speech and conduct already exist. These

comport with the unwavering understanding that a state – and the federal courts –

have a vital and compelling interest in regulating the practice of law, as well as

preventing discrimination and harassment.

      In sum, Plaintiff has not met his heavy burden that the Amendments sweep in

a “substantial amount” of protected expressive activity. To the contrary, any such

activity would be miniscule and not so substantial as to require invalidating them.

Instead, as the Third Circuit holds, “any concern about overbreadth may instead ‘be

cured through case-by-case analysis of the fact situations to which its sanctions,

assertedly, may not be applied.’” Borden, 523 F.3d at 166.




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       D.     The Amendments are not vague because they use familiar, well-
              known terms that an objective attorney understands, and they
              provide fair warning of prohibited conduct.

       Plaintiff contends that the Amendments are vague. To the contrary, the

Amendments set forth well-known terms and phrases that provide more than fair

warning to attorneys about what discriminatory and harassing conduct means and in

what circumstances the Amendments apply.

       The vagueness inquiry is grounded in the Fourteenth Amendment’s due process

clause. J.S. v. Blue Mt. Sch. Dist., 650 F.3d 915, 935 (3d Cir. 2011). Its purpose is to

ensure that there is “fair warning of prohibited conduct.” San Filippo v. Bongiovanni,

961 F.2d 1125, 1135 (3d Cir. 1992)(quotation omitted).

       Even if a regulation restricts expressive activity, “[p]erfect clarity and precise

guidance have never been required[.]” Ward, 491 U.S. at 794. Indeed, the Supreme

Court acknowledges that “there are limitations in the English language with

respect to being both specific and manageably brief,” which may not “satisfy those

intent on finding fault at any cost[.]” San Filippo, 961 F.2d at 1136 (quoting U.S. v.

Harris, 347 U.S. 612, 618 (1954)). Moreover, because the Amendments do not

involve criminal sanctions, a “greater tolerance” of imprecision is allowed. Village of

Hoffman Estates v. The Flipside, Hoffman Estates, Inc., 455 U.S. 489, 497 (1982).

       To determine whether the Amendments are vague, this Court must decide if

they are “set out in terms that the ordinary person exercising ordinary common sense

can sufficiently understand and comply with, without sacrifice to the public

interest.” San Filippo, 961 F.2d at 1136. Here, the objective question becomes



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whether the ordinary attorney using ordinary common sense can sufficiently

understand and comply with the Amendments, without sacrifice to the public interest.

See Howell v. State Bar of Texas, 843 F.2d 205, 208 (5th Cir. 1988); see also King v.

Christie, 981 F.Supp.2d 296, 327 (D.N.J. 2013).23

      Prior to showing why the Amendments are not vague, it is worthwhile to

review a selection of cases rejecting vagueness challenges to rules of professional

conduct. These include, to name a few, Villeneuve v. Connecticut, C.A. No. 3:10cv296,

2010 WL 4976001, at *3 (D. Conn. Dec. 2, 2010)(provisions addressing conduct

involving “dishonesty, fraud, deceit or misrepresentation,” and conduct “prejudicial to

the administration of justice” not vague); Howell, 843 F.2d at 206 (“prejudicial to the

administration of justice” not vague); Petersen v. Florida Bar, 720 F.Supp.2d 1351,

1368 (M.D. Fla. 2010)(“professionalism and ethics in the practice of law” not vague);

Canatella v. Stovitz, 365 F.Supp.2d 1064, 1077 (N.D. Cal. 2005)(“legal and just” in

attorney disciplinary code not vague).

      “Harassment” and “discrimination” are well-known terms to attorneys (and

even to the layperson). There is a sea of case law, statutes, regulations, and other

provisions that utilize these terms, with perhaps the leading law being Title VII of the

Civil Rights Act of 1964 and the cases interpreting it.




23 See In re Snyder, 472 U.S. at 645 (“case law, applicable court rules, and ‘the lore
of the profession,’ as embodied in codes of professional conduct[,]”guide attorneys);
Pa.R.P.C. Preamble [15] (“The Rules of Professional Conduct are rules of reason.
They should be interpreted with reference to the purposes of legal representation
and of the law itself.”).
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       In examining the Amendments, it is important to note that they are “rules of

reason,” which “should be interpreted with reference to the purposes of legal

representation and of the law itself.” Pa.R.P.C. Preamble, [14]. Thus, in interpreting

“harassment” and “discrimination,” the Court must interpret the terms in a

reasonable way. What is more, other provisions in the professional conduct rules use

general language, including “significant risk,” “significantly harmful,” “substantial

likelihood,” “substantial purpose,” and “reasonable possibility.” Pa.R.P.C. 1.7, 1.8 cmt.

3, 1.10, 2.3 cmt. 5, 3.2 cmt. 1, 3.6, 3.8, 4.3, 4.4, 7.1 cmt. 2. The words “reasonably” or

“unreasonable” (or variations of them) appear throughout the Amendments. Thus,

attorneys are familiar with such terms as it pertains to their conduct.

              1.     Harassment.

       Comment Four tapers “harassment” to “conduct that is intended to intimidate,

denigrate or show hostility or aversion toward a person on any of the basis listed in

paragraph (g).” “Harassment” also includes sexual harassment, including sexual

advances, request for sexual favors, and other unwelcome sexual conduct. See Rule

8.4(g), Comment Four.

       “Harass” and “harassment” are common terms used in the law. For instance,

the Rules of Professional Conduct use “harass” in multiple places. See Pa.R.P.C.

Preamble, [5], 3.5(c)(3), 3.10 cmt. 4, 7.3(b)(2), 8.3 cmt. 4. Rule 11 of the Federal Rules

of Civil Procedure uses “harass.” Fed.R.Civ.P. 11(b)(1).

       Black’s Law Dictionary defines “harassment” as “[w]ords, conduct, or action

(usu. repeated or persistent) that, being directed at a specific person, annoys, alarms,



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or causes substantial emotional distress to that person and serves no legitimate

purpose; purposeful vexation.” HARASSMENT, Black’s Law Dictionary (11th ed.

2019).

         Not only do the Amendments provide sufficient notice to attorneys, but they

also guide ODC in deciding whether to enforce the Amendments, thereby ensuring

that ODC is aware of the Amendments’ boundaries. Indeed, ODC’s Declaration

delineate those boundaries.

                2.     Discrimination.

         Comment Five defines “discrimination” as “conduct that a lawyer knows

manifests an intention: to treat a person as inferior based on one or more of the

characteristics listed in paragraph (g); to disregard relevant considerations of

individual characteristics or merit because of one or more of the listed

characteristics; or to cause or attempt to cause interference with the fair

administration of justice based on one or more of the listed characteristics.” See Rule

8.4(g), Comment Five.

         “Discrimination” is also defined as “[t]he effect of a law or established practice

that confers privileges on a certain class or that denies privileges to a certain class

because of race, age, sex, nationality, religion, or disability.” DISCRIMINATION,

Black’s Law Dictionary (11th ed. 2019).

                3.     “In the practice of law.”

         The Amendments are clear what “in the practice of law” means: they provide a

definition in Comment Three. They also state what “in the practice of law is not.” If an



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attorney questions whether conduct is in the practice of law, they need look only at

Comment Three.

IV.   Conclusion

      In lieu of engaging in a litany of speculations, the correct approach to address

Rule 8.4(g)’s constitutionality is – as the Supreme Court holds – to practice “judicial

restraint” and wait for an actual as-applied case with real facts. Not imaginary,

hypothetical cases. See Borden, 523 F.3d at 166. The First Circuit stated it succinctly:

if a situation arises where the Amendments “are applied to conduct that is

sufficiently expressive to implicate the First Amendment, we are confident that as-

applied challenges will properly safeguard the rights that the First Amendment

enshrines.” United States v. Ackell, 907 F.3d 67, 77 (1st Cir. 2018), cert. denied, 139

S.Ct. 2012 (2019).

      Thus, Defendants respectfully request this Honorable Court to grant

judgment in their favor.


                                           Respectfully submitted,


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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ZACHARY GREENBERG                      :
                                       :      CIVIL ACTION
                    Plaintiff          :
                                       :      NO. 2:20-CV-3822
             v.                        :
                                       :
JOHN P. GOODRICH, in his               :
official capacity as Chair of the      :      Hon. Chad F. Kenney
Disciplinary Board of the Supreme      :
Court of Pennsylvania, et al.          :
                                       :
                    Defendants         :


                                Certificate of Service

       The undersigned certifies that on November 16, 2021, he caused the

 foregoing Brief in Support of Defendants’ Motion for Summary Judgment via

 CM/ECF to all counsel of record



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